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                                                                          1                     IN THE UNITED STATES DISTRICT COURT
                                                                          2                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          3
                                                                              IN RE: CATHODE RAY TUBE (CRT)      )       MDL No. 1917
                                                                          4   ANTITRUST LITIGATION               )
                                                                                                                 )       Case No. C-07-5944-SC
                                                                          5                                      )
                                                                              This Order Relates To:             )       ORDER REQUESTING
                                                                          6                                      )       SUPPLEMENTAL MATERIALS
                                                                              INDIRECT PURCHASER ACTIONS         )
                                                                          7                                      )
                                                                              Sharp Electronics Corp. v. Hitachi )
                                                                          8   Ltd., No. C-13-1173;               )
                                                                                                                 )
                                                                          9   Sharp Electronics Corp. v.         )
                                                                              Technicolor SA, No. 13-cv-02776;   )
                                                                         10                                      )
                               For the Northern District of California
United States District Court




                                                                              Siegel v. Technicolor SA, No. 13- )
                                                                         11   cv-05261;                          )
                                                                                                                 )
                                                                         12   Siegel v. Hitachi, Ltd., No. 11-   )
                                                                              cv-05502;                          )
                                                                         13                                      )
                                                                              Best Buy Co., Inc. v. Hitachi      )
                                                                         14   Ltd., No. 11-cv-05513;             )
                                                                                                                 )
                                                                         15   Target Corp. v. Technicolor SA,    )
                                                                              No. 13-cv-05686;                   )
                                                                         16                                      )
                                                                              Target Corp. v. Chunghwa Picture   )
                                                                         17   Tubes, Ltd., No. 11-cv-05514       )
                                                                                                                 )
                                                                         18   ViewSonic Corp. v. Chunghwa        )
                                                                              Picture Tubes, Ltd., No. 14-cv-    )
                                                                         19   02510;                             )
                                                                                                                 )
                                                                         20   Sears, Roebuck and Co. and Kmart   )
                                                                              Corp. v. Technicolor SA, No. 3:13- )
                                                                         21   cv-05262;                          )
                                                                                                                 )
                                                                         22   Sears, Roebuck and Co. and Kmart   )
                                                                              Corp. v. Chunghwa Picture Tubes    )
                                                                         23   Ltd., No. 13-cv-05686;             )
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                                                                          1        Now before the Court are motions related to the structuring
                                                                          2   the trial of these matters.      Simplifying somewhat, Indirect
                                                                          3   Purchaser Plaintiffs ("IPPs") and Direct Action Plaintiffs ("DAPs")
                                                                          4   whose cases were filed in the Northern District of California
                                                                          5   jointly move for consolidation of the DAP cases for an initial
                                                                          6   trial followed by a separate IPP trial.        ECF Nos. 2897 ("IPP/DAP
                                                                          7   Mot."); 2903 ("Best Buy Joinder").       Defendants oppose this
                                                                          8   proposal, instead cross-moving for the consolidation of all cases
                                                                          9   for a single joint trial.     ECF No. 2914 ("Defs. Cross-Mot.").
                                                                         10        The Court must weigh several considerations in assessing these
                               For the Northern District of California
United States District Court




                                                                         11   motions including, among other things, the risk of jury confusion.
                                                                         12   The Court's analysis of that risk would be aided by the submission
                                                                         13   of proposed special verdict forms.       Accordingly, IPPs/DAPs and
                                                                         14   Defendants are hereby ORDERED to file proposed special verdict
                                                                         15   forms for use in assessing their proposed trial plans within
                                                                         16   fourteen (14) days.    The parties shall not be bound to advance the
                                                                         17   same verdict form in any pretrial filings; instead the proposed
                                                                         18   forms will only be used by the Court in assessing the instant
                                                                         19   motions.   If necessary, each side may file a memorandum of no more
                                                                         20   than five (5) pages confined to an explanation of its individual
                                                                         21   proposed special verdict form.
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                                                                         23        IT IS SO ORDERED.
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                                                                         25        Dated: November 3, 2014
                                                                         26                                              UNITED STATES DISTRICT JUDGE

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